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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


RYAN BOSHAW,

                 Plaintiff,                    USDC Case No.:
                                               State Court Case No. 15-15145-GC
vs.

CBM SERVICES, INC.,

                 Defendant.


                               NOTICE OF REMOVAL
           Defendant CBM Services, Inc. (“Defendant”), hereby provides notice of

removal of this action from the 75th Judicial District Court for the State of

Michigan to the United States District Court for the Eastern District of Michigan

pursuant to 28 U.S.C. §§ 1331, 1441 and 1446. In support of this removal,

Defendant states:

           1.    On or about May 20, 2015, Plaintiff Ryan Boshaw (“Plainitff”) filed

the above captioned civil action in the 75th Judicial District Court for the State of

Michigan (Case No.: 15-15145-GC).

           2.    Defendant was served with the Complaint on June 1, 2015.

Accordingly, this Notice of Removal has been timely filed pursuant to 28 U.S.C. §

1446(b).

           3.     This matter is a civil action over which this Court has original


	  




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jurisdiction under 28 U.S.C. § 1331, and is one which may be properly removed

pursuant to 28 U.S.C. §§ 1441 and 1446, as the claims asserted in the Complaint

arise under the laws of the United States and raise one or more federal questions.

           4.    Plaintiff’s complaint asserts violations of the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

           5.    The district courts of the United States have original jurisdiction in

civil actions arising under the FDCPA.

           6.    Defendant removes this action to the United States District Court for

the Eastern District of Michigan because it is the venue that encompasses Midland,

Michigan. Defendant removes this action without prejudice to Defendant’s right to

seek transfer of this action pursuant to 28 U.S.C. § 1404, if and as appropriate.

            7.    True and correct copies of the following are attached to this Notice of

Removal:

                 (a)      all process, pleadings and orders which have been served
                          upon Defendant in this action are attached to this filing in
                          accordance with 28 U.S.C. § 1446(a) and this Court’s ECF
                          guidelines; and

                 (b)      the Notice of Filing of Notice of Removal which has been
                          served upon Plaintiff and filed with the Clerk of Court for
                          the 6th Judicial Circuit Court is also attached in accordance
                          with 28 U.S.C. § 1446(d).

           8.     Based upon the foregoing, this action is removable on the basis of

federal question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441 and 1446.


	  




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            WHEREFORE, Defendant CBM Services, Inc., requests that this action

proceed in the United States District Court for the Eastern District of Michigan

unless or until remanded by further order of this Court.

                                                  Respectfully Submitted,

                                                  /s/ Charity A. Olson
                                                  Charity A. Olson (P68295)
                                                  OLSON LAW GROUP
                                                  2723 S. State St., Suite 150
                                                  Ann Arbor, MI 48104
                                                  Tel: (734) 222-5179
                                                  Fax: (866) 941-8712
Dated: June 30, 2015                              colson@olsonlawpc.com




                                  CERTIFICATE OF SERVICE

               I, Charity A. Olson, hereby certify that on June 30, 2015, a copy of the
       foregoing Notice of Removal was filed via the Court’s ECF system and served via
       first class and electronic mail on the following parties:

            State of Michigan
            75th Judicial Circuit Court
            301 W. Main St.
            Midland, MI 48640

            Ryan Boshaw
            c/o Gary D. Nitzkin, Esq.
            Nitzkin & Associates
            22142 West Nine Mile Road,
            Southfield, MI 48033

                                                        /s/ Charity A. Olson
                                                        Charity A. Olson


	  




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


RYAN BOSHAW,

               Plaintiff,                            State Court Case No. 15-15145-GC

vs.

CBM SERVICES, INC.,

               Defendant.


                       NOTICE OF REMOVAL TO FEDERAL COURT
        PLEASE TAKE NOTICE that Defendant CBM Services, Inc., has on this day provided

notice of removal of this action from the 75th Judicial District Court for the State of Michigan to

the United States District Court for the Eastern District of Michigan pursuant to 28 U.S.C. §§

1331, 1441 and 1446, a copy of which is attached hereto.

        Pursuant to 28 U.S.C. § 1446 (b), all future proceedings in the 75th Judicial District Court

for the State of Michigan are hereby stayed unless or until this action is remanded.


                                                     Respectfully Submitted,

                                                     /s/ Charity A. Olson
                                                     Charity A. Olson (P68295)
                                                     OLSON LAW GROUP
                                                     2723 S. State St., Suite 150
                                                     Ann Arbor, MI 48104
                                                     Tel: (734) 222-5179
                                                     Fax: (866) 941-8712
Dated: June 30, 2015                                 colson@olsonlawpc.com




	  




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                                       CERTIFICATE OF SERVICE

              I, Charity A. Olson, hereby certify that on June 30, 2015, a copy of this Notice of
       Removal was filed via the Court’s electronic filing system and served via first class mail upon
       these parties:

             State of Michigan
             75th Judicial Circuit Court
             301 W. Main St.
             Midland, MI 48640

             Ryan Boshaw
             c/o Gary D. Nitzkin, Esq.
             Nitzkin & Associates
             22142 West Nine Mile Road,
             Southfield, MI 48033



                                                                  /s/ Charity A. Olson
                                                                  Charity A. Olson




	  




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